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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA


UNITED STATES OF AMERICA,                        )
                                                 )     1:21-mj-00094-SHL
               v.                                )
                                                 )     GOVERNMENT’S MOTION
KUACHUA BRILLION XIONG,                          )     TO FILE UNDER SEAL
                                                 )
               Defendant.                        )


       Comes now the United States of America, by and through the United States Attorney for

the Southern District of Iowa and the undersigned Assistant United States Attorney, and request

permission to file its Motion for Examination under seal. The United States makes this request

as its Motion contains, among other things, sensitive medical information that should not be

made available to the public by said Motion being filed without seal on the CM/ECF system.

       Wherefore, the Government requests this Court issue an Order allowing the United States

to file its Motion for Mental Evaluation under seal.

                                                       Respectfully submitted,

                                                       Richard D. Westphal
                                                       United States Attorney


                                             By:        /s/ Michael B. Duffy
                                                       Michael B. Duffy
                                                       Assistant U.S. Attorney
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CERTIFICATE OF SERVICE

I hereby certify that on January 4, 2022, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on the parties or attorneys of record by:

    U.S. Mail       Fax      Hand Delivery

 X ECF/Electronic filing      Other means-Email

UNITED STATES ATTORNEY

By: /s/PAC_____________
      Paralegal Specialist




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